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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE


        ZYRCUITS IP LLC,                            Case No. 1:21-cv-00593-CFC

              Plaintiff,                            Patent Case

              v.                                    Jury Trial Demanded

        WAXMAN INDUSTRIES, INC.,

              Defendant.


                   NOTICE OF VOLUNTARY DISMISSAL

      Now comes Plaintiff, Zyrcuits IP LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims

asserted against Defendant Waxman Industries, Inc., in the within action Without

Prejudice with each party bearing their own costs and fees. Waxman Industries, Inc.

has not served an answer or a motion for summary judgment.

Dated: August 13, 2021                      Respectfully submitted,

                                            CHONG LAW FIRM PA

                                            /s/ Jimmy Chong
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  Case 1:21-cv-00593-CFC Document 9 Filed 08/13/21 Page 2 of 2 PageID #: 57




                           CERTIFICATE OF SERVICE

      I, Jimmy Chong, certify that on August 13, 2021 this document was

electronically filed with the Clerk of the Court using the CM/ECF system and will

be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF).

                                                       /s/ Jimmy Chong     ______
                                                       Jimmy Chong (#4839)




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